Case 16-30507-sgj7         Doc 148     Filed 07/25/22 Entered 07/25/22 16:08:14            Desc Main
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 James W. Cunningham
 Jim Cunningham & Associates, Inc.
 6412 Sondra Drive
 Dallas Texas 75214-3451
 (214) 827-9112

 Trustee

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                            §
                                                   §
 CAFARELLI METALS, INC.                            §                   CASE NO. 16-30507-BJH-7
                                                   §
   DEBTOR                                          §


                                     TRUSTEE INTERIM REPORT


           The U.S. Trustee relayed by email a request from the Court that an interim status report

 be filed in the above case. Now comes James W. Cunningham, chapter 7 trustee for the above

 estate, and files this interim status report.




                                                        RESPECTFULLY SUBMITTED,


                                                          /s/ James W. Cunningham
                                                        Chapter 7 Bankruptcy Trustee




 TRUSTEE INTERIM REPORT
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                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                       Page:      1
                                                                   ASSET CASES
Case No:            16-30507         SGJ   Judge: Stacey G. Jernigan                                     Trustee Name: James W. Cunningham, Trustee
Case Name:          CAFARELLI METALS, INC.                                                               Date Filed (f) or Converted (c):   01/26/17 (c)
                                                                                                         341(a) Meeting Date:               03/07/17
 For Period Ending: 06/30/22
                                                                                                         Claims Bar Date:                   06/06/17


                                 1                                         2                         3                 4               5                         6
                                                                                            Estimated Net Value
                                                                                             (Value Determined      Property                                Asset Fully
                                                                        Petition/             by Trustee, Less      Formally       Sale/Funds           Administered (FA)/
                         Asset Description                             Unscheduled           Liens, Exemptions,    Abandoned       Received by       Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                   Values               and Other Costs)     OA=554(a)        the Estate                Assets

 1. Bank Account                                                               2,332.37                     0.00                             0.00               FA
    - Per amendment filed 3/8/16
    - No funds at time of chapter 7 conversion
 2. Accounts Receivable                                                     27,611.25                     91.28                             91.28               FA
    - Valuation subject to recovery in Adversary 16-3025 v Rep
    Bus Credit.

    - Settled - see Item # 5.
 3. Inventory                                                               28,567.68                       0.00                             0.00               FA
    - See # 10 - sold per 5/1/17 Order
 4. Machinery & Equipment                                                   78,000.00                       0.00                             0.00               FA
    - Per amendment filed 3/8/16
     - See # 10 - sold per 5/1/17 Order
 5. Claim Against Republic Bus Credit                                       Unknown                 109,839.07                        109,839.07                             0.00
    - Adversary #16-3025 Estate v Rep Bus Credit.

    - Judgment entered 12/23/2021 in favor of three debtors,
    Bailey Tool, Cafarelli Metals and Hunt Hinges for $16.9M +
    attorney fees + interest on 12/23/2021

    - Settled per 2/23/22 Order #125

    - Settlement order appealed by John Buttles at
       District Court Case 3:22-CV-00644-K.
 6. Lease                                                                            0.00                   0.00                             0.00               FA
    - Per amendment filed 3/8/16
 7. Insurance Policies                                                               0.00                   0.00                             0.00               FA
    - Per amendment filed 3/8/16
     - See # 10 - sold per 5/1/17 Order
 8. Claims Against Former CFOs                                              Unknown                         0.00                             0.00               FA
    - Per amendment filed 3/8/16
    - Determined no cause of action.
 9. Money Held by Republic Bus Credit                                      450,000.00                       0.00                             0.00               FA
    - Per amendment filed 3/8/16
    - Adversary 16-3025-sgj
    - Judgment entered 12/23/2021 in favor of three debtors,
    Bailey Tool, Cafarelli Metals and Hunt Hinges for $16.9M +
    attorney fees + interest on 12/23/2021
    - See item # 5
 10. Sale of All Personal Property                                                   0.00             21,298.91                        21,298.91                FA
    Sold per 5/1/17 Order #37

                                                                                                                                                    Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                        $586,511.30              $131,229.26                       $131,229.26                        $0.00
                                                                                                                                                      (Total Dollar Amount



PFORM1                                                                                                                                                               Ver: 22.06b
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                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page:      2
                                                                   ASSET CASES
Case No:            16-30507         SGJ   Judge: Stacey G. Jernigan                              Trustee Name: James W. Cunningham, Trustee
Case Name:          CAFARELLI METALS, INC.                                                        Date Filed (f) or Converted (c):   01/26/17 (c)
                                                                                                  341(a) Meeting Date:               03/07/17
                                                                                                  Claims Bar Date:                   06/06/17


                                 1                                         2                  3                 4               5                        6
                                                                                     Estimated Net Value
                                                                                      (Value Determined     Property                                Asset Fully
                                                                        Petition/      by Trustee, Less     Formally        Sale/Funds          Administered (FA)/
                         Asset Description                             Unscheduled    Liens, Exemptions,   Abandoned        Received by      Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                   Values        and Other Costs)    OA=554(a)         the Estate               Assets

                                                                                                                                                     in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 - Debtor did not file Chapter 7 Conversion Schedules per Local Rule 1019
   upon conversion to chapter 7

 - Related cases:

    Bailey Tool & Manufacturing Company Case #16-30503-sgj7
    Hunt Hinges, Inc. Case #16-30504-sgj7
    Bailey Shelter, LP Case #16-30509-mvl7 (closed)

 - Adversary #16-3025 Estate v Rep Bus Credit.
   Settled per 2/23/22 Order #125
   Settlement order appealed by John Buttles at
   District Court Case 3:22-CV-00644-K.



 - Tax returns

 - Ch 7 professional final fee applications

 Initial Projected Date of Final Report (TFR): 01/26/19                Current Projected Date of Final Report (TFR): 11/14/22




PFORM1                                                                                                                                                       Ver: 22.06b
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:               16-30507 -SGJ                                                                   Trustee Name:                    James W. Cunningham, Trustee
  Case Name:             CAFARELLI METALS, INC.                                                          Bank Name:                       First National Bank - Vinita
                                                                                                         Account Number / CD #:           *******1825 Checking Account
  Taxpayer ID No:        *******5956
  For Period Ending:     06/30/22                                                                        Blanket Bond (per case limit): $     300,000.00
                                                                                                         Separate Bond (if applicable):



      1             2                                 3                                          4                                               5                    6                       7

 Transaction    Check or                                                                                                      Uniform                            Disbursements       Account / CD
    Date        Reference                 Paid To / Received From                   Description Of Transaction              Trans. Code     Deposits ($)              ($)             Balance ($)
                                                                          BALANCE FORWARD                                                                                                             0.00
     04/07/17       2       Wire Transfer - Sterling Com Credit           AR - Excessive Collections                         1121-000                8,169.13                                 8,169.13
     05/05/17               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       10.00             8,159.13
     05/18/17       10      Wire Transfer - DMS                           Equipment Sale per 5/1/17 Order                    1129-000            21,298.91                                   29,458.04
     05/18/17    007001     Dallas County                                 Equipment Sale per 5/1/17 Order                    4800-000                                     1,402.40           28,055.64
                            c/o Beth Weller                               2014 - Acc 99970440000130250
                            Linebarger Goggan Blair & Sampson, LLP
                            2777 N. Stemmons Freeway, Suite 1000
                            Dallas, TX 75207
     05/22/17    007002     Comerica Bank                                 Equipment Sale per 5/1/17 Order                    4210-000                                 15,000.00              13,055.64
     06/07/17               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       19.22            13,036.42
     07/10/17               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.91            13,022.51
     08/07/17               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.83            13,008.68
     09/08/17               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.81            12,994.87
     10/06/17               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.35            12,981.52
     11/07/17               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.78            12,967.74
     12/07/17               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.33            12,954.41
     01/08/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.76            12,940.65
     02/07/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.74            12,926.91
     03/07/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       12.40            12,914.51
     04/06/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.71            12,900.80
     05/07/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.26            12,887.54
     06/07/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.68            12,873.86
     07/09/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.23            12,860.63
     08/07/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.66            12,846.97
     09/10/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.64            12,833.33
     10/05/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.19            12,820.14
     11/07/18               First National Bank - Vinita                  BANK SERVICE FEE                                   2600-000                                       13.61            12,806.53
     12/04/18               Transfer to Acct #*******0061                 Bank Funds Transfer                                9999-000                                 12,806.53                       0.00




                                                           Account                   Balance Forward                          0.00
                                                                                   2 Deposits                            29,468.04                    2 Checks                               16,402.40
                                                           *******1825
                                                                                   0 Interest Postings                        0.00                   19 Adjustments Out                         259.11
                                                                                                                                                      1 Transfers Out                        12,806.53
                                                                                      Subtotal                   $       29,468.04
                                                                                                                                                         Total                       $       29,468.04
                                                                                   0 Adjustments In                           0.00
                                                                                   0 Transfers In                             0.00

                                                                                      Total                      $       29,468.04




PFORM2T4                                                                                                                                                                                 Ver: 22.06b
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-30507 -SGJ                                                                       Trustee Name:                    James W. Cunningham, Trustee
  Case Name:            CAFARELLI METALS, INC.                                                              Bank Name:                       Axos Bank
                                                                                                            Account Number / CD #:           *******0061 Checking Account
  Taxpayer ID No:       *******5956
  For Period Ending:    06/30/22                                                                            Blanket Bond (per case limit): $     300,000.00
                                                                                                            Separate Bond (if applicable):



      1             2                                 3                                            4                                                 5                   6                         7

 Transaction    Check or                                                                                                         Uniform                            Disbursements          Account / CD
    Date        Reference                Paid To / Received From                      Description Of Transaction               Trans. Code     Deposits ($)              ($)                Balance ($)
                                                                         BALANCE FORWARD                                                                                                                   0.00
     12/04/18               Transfer from Acct #*******1825              Bank Funds Transfer                                    9999-000              12,806.53                                    12,806.53
     12/18/18    003001     Sherman & Yaquinto, LLP                      Atty Fees per 12/14/18 Order                           3210-000                                     1,215.92              11,590.61
                            c/o Daniel J. Sherman
                            509 N. Montclair Avenue
                            Dallas, TX 75208
     03/03/21               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          11.56            11,579.05
     04/02/21               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.79            11,566.26
     05/03/21               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.36            11,553.90
     06/01/21               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.76            11,541.14
     07/01/21               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.33            11,528.81
     08/02/21               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.73            11,516.08
     09/01/21               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.72            11,503.36
     10/01/21               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.29            11,491.07
     11/01/21               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.69            11,478.38
     12/01/21               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.26            11,466.12
     01/03/22               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.66            11,453.46
     02/01/22               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          12.65            11,440.81
     02/23/22       5       Bailey Tool & Mfg Co #3002                   Settlement Funds                                       1149-000             109,839.07                                   121,279.88
     03/01/22               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                          34.88           121,245.00
     04/01/22               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                         133.87           121,111.13
     04/13/22       2       TX Comptoller # 142301885                    Unclaimed Funds Turnover                               1121-000                   91.28                                  121,202.41
     05/02/22               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                         129.46           121,072.95
     06/01/22               Axos Bank                                    BANK SERVICE FEE                                       2600-000                                         133.68           120,939.27




                                                          Account                       Balance Forward                          0.00
                                                                                      2 Deposits                           109,930.35                     1 Checks                                 1,215.92
                                                          *******0061
                                                                                      0 Interest Postings                        0.00                    16 Adjustments Out                          581.69
                                                                                                                                                          0 Transfers Out                              0.00
                                                                                        Subtotal                    $      109,930.35
                                                                                                                                                            Total                         $        1,797.61
                                                                                      0 Adjustments In                           0.00
                                                                                      1 Transfers In                        12,806.53

                                                                                        Total                       $      122,736.88




Report Totals                                                             Balance Forward                           0.00
                                                                        4 Deposits                            139,398.39                 3 Checks                                   17,618.32
                                                                        0 Interest Postings                         0.00                35 Adjustments Out                             840.80
                                                                                                                                         1 Transfers Out                            12,806.53
                                                                           Subtotal                    $      139,398.39
                                                                                                                                             Total                           $      31,265.65
                                                                        0 Adjustments In                            0.00
                                                                        1 Transfers In                         12,806.53

                                                                           Total                       $      152,204.92                     Net Total Balance               $     120,939.27




PFORM2T4                                                                                                                                                                                        Ver: 22.06b
